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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF WISCONSIN



SEAN AND TAMINA BURKE                              Case No.: 2:20-cv-01531-LA

               Plaintiffs,
                                                   PLAINTIFFS’ NOTICE OF VOLUNTARY
       vs.                                         DISMISSAL OF DEFENDANT EQUIFAX
EXPERIAN INFORMATION SOLUTIONS,                    INFORMATION SERVICES, LLC
INC., et. al.                                      PURSUANT TO FEDERAL RULE OF
                                                   CIVIL PROCEDURE 41(A)(1)
               Defendants




PLEASE TAKE NOTICE that Plaintiffs Sean and Tamina Burke, pursuant to Federal Rule of

Civil Procedure 41(a)(1), hereby voluntarily dismiss Equifax Information Services, LLC as to all

claims in this action, with prejudice.

       Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

       41(a) Voluntary Dismissal

       (1) By the Plaintiff

               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any

                   applicable federal statute, the plaintiff may dismiss an action without a court

                   order by filing:

                       (1) a notice of dismissal before the opposing party serves either an answer

                             or a motion for summary judgment.

       Defendant Equifax Information Services, LLC has neither answered Plaintiffs’ Complaint,

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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
nor filed a motion for summary judgment. Accordingly, the matter may be dismissed against it for

all purposes and without an Order of the Court.



Dated: March 15, 2021                       Gale, Angelo, Johnson, & Pruett, P.C.

                                         By:          /s/ Elliot Gale
                                                     Elliot Gale
                                         Attorneys for Plaintiffs
                                         Sean and Tamina Burke




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                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
